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                Exhibit A
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            SETTLEMENT AND TRADEMARK COEXISTENCE AGREEMENT

        This Settlement and Trademark Coexistence Agreement (the “Agreement”) is entered
into as of the last date of signature below (the “Effective Date”) by and between on the one hand,
Pixel Labs, Inc., a Delaware corporation with a principal address of 2407 Harrison Street #3,
San Francisco, CA 94110 (“Pixel Labs”) and Razmig Hovaghimian, an individual with an
address of                                                          , and on the other hand, Ripple
Labs, Inc., (“Ripple Labs”) a Delaware corporation with a principal address of 268 Bush Street,
No. 2724, San Francisco, CA 94104 (“Ripple Labs”) (collectively, the “Parties,” and each
separately a “Party”).

        WHEREAS, Ripple Labs offers various goods and services in connection with global
financial settlement solutions and provides, inter alia, financial transaction software
(collectively, the “Ripple Labs’ Goods and Services”) under various RIPPLE and RIPPLE-
formative marks (collectively, the “Ripple Labs’ Marks”);

        WHEREAS, Ripple Labs owns various trademark applications and registrations relating
to the same, as set forth in Exhibit A;

        WHEREAS, Pixel Labs offers a mobile application and online platform for users to find
and post news stories (including pictures, videos and articles) directly and from partners
(collectively, the “Pixel Labs Goods and Services”) under the mark RIPPLE NEWS, and Pixel
Labs also uses the trademark RN RIPPLE NEWS, which is registered in a stylized form as set
forth on Exhibit B; (the RIPPLE NEWS mark and the RN RIPPLE NEWS marks, whether or
not there is a space between “ripple” and “news,” are collectively referred to herein as Pixel
Labs’ “RIPPLE NEWS Mark”);

        WHEREAS, on August 19, 2016, Ripple Labs filed a lawsuit against Pixel Labs and
Razmig Hovaghimian, in the United States District Court for the Northern District of California
styled Ripple Labs, Inc. v. Pixel Labs, Inc. et al, Case No. 3:16-cv-04788-JCS (the “Lawsuit”),
and Pixel Labs and Mr. Hovaghimian have not yet filed a response to the lawsuit but deny the
allegations in the lawsuit; and

       WHEREAS, the Parties have now exchanged information regarding their respective
goods and services and uses of their respective Marks, and the Parties are desirous of avoiding
confusion between their respective marks to the extent that the Parties can do so by complying
with the terms of this Agreement;

        NOW THEREFORE, in consideration of the foregoing and of the mutual promises and
covenants set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, and without any admission of fault, liability or the
validity of any asserted claims, the Parties agree as follows:




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1.      Trademark Coexistence Provisions and Undertakings.

        (a)     Pixel Labs acknowledges that the Ripple Labs’ Marks are valid and enforceable
Marks owned exclusively by Ripple Labs in connection with the Ripple Labs’ Goods and
Services and any reasonably related future goods and services throughout the world. Within two
(2) weeks of the Effective Date (which will be defined as the “Transition Date”), and except as
provided below, Pixel Labs will not use the mark RIPPLE as a trade name, trademark or service
mark, whether with or without a design element, in connection with any present, future or related
goods and services, including without limitation the Pixel Labs Goods and Services. Further,
Pixel Labs will stop using (i.e. posting content) at the URL ripple.co within two (2) weeks of the
Effective Date. Additionally Pixel Labs has renamed its current mobile app to RIPPLE NEWS,
and will not in the future call the app simply “RIPPLE.” Nothing in this Agreement shall
prevent Pixel Labs from using the Pixel Labs’ RIPPLE NEWS Mark as a trademark or source
identifier in connection with the Pixel Labs Goods and Services. Pixel Labs will not use the
Pixel Labs’ RIPPLE NEWS Mark as a trade name, trademark or service mark, whether with or
without a design element, in connection with the Ripple Labs Goods and Services or on any
related goods and services. Pixel Labs is permitted to use its social media handles/usernames that
include “Ripple News.” For avoidance of doubt, Pixel Labs agrees it will never use the word
“Ripple” alone as an identifier of source, trademark, trade name, or as the name of its products or
services, but will always use “Ripple” in conjunction with, and adjacent to the word “News,”
appearing in a similarly-sized font. Pixel Labs shall not contest, object to, or otherwise challenge
Ripple Labs’ use of, application for, or registration of the Ripple Labs’ Marks or any future
marks containing the term “RIPPLE” (other than RIPPLE NEWS) in connection with the Ripple
Labs’ Goods and Services or any other goods and services that are either related to the present
Ripple Labs’ Goods and Services, or which are not related to Pixel Labs’ Goods and Services.
For the avoidance of doubt, nothing in this Agreement shall prevent Ripple Labs from
publishing, electronically or otherwise, a newsletter relating to the Ripple Labs’ Goods and
Services, and Pixel Labs shall not challenge the use of the Ripple Labs’ Marks in connection
with such goods and services. Pixel Labs herein agrees to cooperate and execute any further
written consents or other documents that may be reasonably requested in connection with Ripple
Labs’ application for, or registration of any Ripple Labs’ mark in connection with the present or
future Ripple Labs goods and services. Each Party will bear its own costs and attorney’s fees in
connection with the obligations of this provision.

        (b)     Subject to the provisions of this Agreement, Ripple Labs shall not challenge such
use of the Pixel Labs’ RIPPLE NEWS Mark in connection with the Pixel Labs Goods and
Services so long as the term RIPPLE is always followed by and adjacent to the term NEWS, and
“RIPPLE” and “NEWS,” appearing in a similarly-sized font. Ripple Labs shall not contest,
object to, or otherwise challenge Pixel Labs’ use of, application for, or registration of Pixel Labs’
RIPPLE NEWS Mark in connection with the Pixel Labs’ Goods and Services. Ripple Labs
herein agrees to cooperate and execute any further written consents or other documents that may
be reasonably requested in connection with Pixel Labs’ application for, or registration of Pixel
Labs’ RIPPLE NEWS Mark in connection with the Pixel Labs Goods and Services. Each Party
will bear its own costs and attorney’s fees in connection with the obligations of this provision.
Ripple Labs will not use the Ripple Labs’ Marks as a trade name, trademark or service mark,
whether with or without a design element, in connection with the Pixel Labs Goods and Services
as described in this Agreement. Ripple Labs also shall not contest, object to, or otherwise
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challenge Pixel Labs’ current use of, application for, or registration of the mark RN RIPPLE
NEWS as shown in U.S. Reg. No. 4,623,819.

      (c)    Nothing in this Agreement shall prevent Pixel Labs from owning and using the
domain name ripplenews.com to support its news site.

        (d)     Other than as set forth in paragraph 1(c) above, as of the Effective Date, Pixel
Labs shall: i) cease making its news site available at any URL and domain name incorporating
the mark RIPPLE after the Effective Date, including, but not limited to ripple.co, ripple.info,
ripple.biz, ripple.news, rippleglobal.net and ripplenetwork.com, and any other domain name
incorporating the RIPPLE Mark; ii) not use the term RIPPLE as a trademark, trade name, or
product name, within any of its news sites, except in conjunction with and immediately adjacent
to the word NEWS in a similar font; iii) ensure that neither it, nor its officers, directors or
employees acquire on behalf of Pixel Labs or for the benefit of Pixel Labs any URL or trademark
utilizing or incorporating the mark RIPPLE, except as permitted by this Agreement. It shall not
be considered a breach of this Agreement if a third party, including a user of the Pixel Labs
Goods and Services, uses the term “ripple,” in a non-trademark use, and Pixel Labs shall not be
liable under this Agreement for any actions of third parties including its users. However, if Pixel
Labs becomes aware of improper trademark use of “Ripple” (e.g. if Ripple Labs notifies Pixel
Labs of such improper use), Pixel Labs will take reasonable steps to remove such improper
trademark use of “Ripple” that appears on its website. Nothing herein shall be construed as
requiring Pixel Labs to search or monitor its website for any such uses by third parties who post
content onto Pixel Labs’ website.

        (e)    Subject to the Paragraph 1(i) below, Pixel Labs shall be allowed to use its
ripple.info, ripple.biz, ripple.news, rippleglobal.net, and ripplenetwork.com domains (the
“Transferred Domain Names”) solely to redirect to its website at ripplenews.com for no more
than one (1) month after the Effective Date, or until transferred to Ripple Labs, whichever occurs
first.

         (f)    Further, Pixel Labs shall include on any and all of its websites displaying the
RIPPLE NEWS Mark or using said terms in a URL, an express disclaimer that it is in no way
affiliated with Ripple Labs; Ripple, Inc.; Ripple.com; or any other entity owned or controlled by
Ripple Labs, as may be reasonably specified by Ripple Labs.

        (g)     Nothing herein shall prevent Ripple Labs from filing any future applications,
whether in standard character or stylized form or incorporated with or into a design element, in
connection with its Ripple Labs’ Goods and Services, any related goods or services, any
reasonably anticipated expansion of said Goods and Services, or any unrelated goods and
services, so long as said goods and services are not the same as Pixel Labs’ Goods and Services
as described as of the Effective Date of this Agreement. Pixel Labs agrees to cooperate and
execute any further written consents or other documents that may be reasonably requested in
connection with Ripple Labs’ applications to register RIPPLE, whether in standard character or
stylized form or incorporated with or into a design element, in connection with its Ripple Labs’
Goods and Services or any related goods or services. Each Party will bear its own costs and
attorney’s fees in connection with the obligations of this provision.


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        (h)     Within two (2) days after Pixel Labs’ satisfactory completion of its obligations
under Paragraphs 1(a), (d), (f) and (i) of the Agreement, all of which are to occur within thirty
(30) days after the Effective Date, Ripple Labs will move the Court to dismiss with prejudice the
claims against Pixel Labs and Razmig Hovaghimian and retain jurisdiction to enforce this
Settlement Agreement. Such dismissals shall not excuse Pixel Labs or Hovaghimian from any
other obligations arising from or under this Agreement, regardless of whether such obligations
could be performed prior to or after the date of the dismissals. Within two (2) business days of
the Effective Date, Ripple Labs will provide Pixel Labs a signed motion or stipulation for
dismissal (in a form acceptable to Ripple Labs) suitable for carrying out the dismissal described
herein, to be held in escrow by Cooley LLP for Pixel Labs. Should Ripple Labs fail to timely
move the Court to dismiss the claims under this paragraph, and upon five (5) days notification to
Ripple Labs’ counsel, Pixel Labs may proceed to file the signed motion for dismissal that was
being held in escrow. However, should Pixel not comply with any requirement herein, Cooley
LLP shall not be authorized to file said Motion or Stipulation for Dismissal.

        (i)     Except as set forth in paragraph 1(c) above, within one (1) week after the
Effective Date, Ripple Labs shall purchase from Pixel Labs (and to the extent Razmig
Hovaghimian is currently the registrant or owner, Razmig Hovaghimian will assign and transfer
to Ripple Labs) all of their domain names that incorporate or feature the term “ripple,” including,
but not limited to the Transferred Domain Names (ripple.co, ripple.info, ripple.biz, ripple.news,
rippleglobal.net and ripplenetwork.com) for a payment equal to Pixel Labs’ and/or Razmig
Hovaghimian’s expenses in obtaining the domain names, not to exceed an aggregate amount of
$14,000.00 (adequate proof of which has already been provided). Pixel Labs and Razmig
Hovaghimian have an obligation hereunder to transfer all Transferred Domain Names to Ripple
Labs within two (2) weeks of the Effective Date. Ripple Labs has an obligation hereunder to
make the payment required in this paragraph within two (2) weeks after Pixel Labs successfully
transfers all such domain names. Payment may be made by Ripple Labs to Cooley LLP, who
shall hold said monies in escrow, pending the transfer of the Transferred Domain Names.
Consistent with Paragraph 1(e) above, Pixel and Ripple Labs (whoever controls said domains)
will configure the Transferred Domain Names so that they display no content and only redirect
users to the ripplenews.com website for a period of no more than one (1) month after the
Effective Date, after which time they will disabled or used for the benefit of Ripple Labs. Ripple
Labs agrees that it will not make any changes to the redirect functionality of the Transferred
Domain Names or to their email configurations for a period not to exceed one (1) month from
the Effective Date. Ripple Labs will not intentionally view or intercept any emails intended for
the email addresses previously associated by Pixel Labs with the Transferred Domain Names;
however, Pixel Labs acknowledges that certain traditional system account names (e.g. admin,
postmaster, etc.) may be the same as what Pixel used, and therefore Ripple Labs will not be in
breach of its obligations under this provision if it uses such traditional system account names
and/or receives e-mails through same. Within five (5) days of Pixel Labs initiating the domain
name transfer process of all Transferred Domain Names, the parties will jointly notify the Court
that the parties have reached a tentative settlement, which requires one or both of the parties to
take certain actions that are expected to be completed within 14 days, and request a stay of all
dates pending completion of those actions

        (j)    Should the Parties become aware of any actual confusion among the consuming
public resulting from the concurrent use by the Parties of their respective marks, the Parties shall
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take reasonable measures to redirect such consumers to the proper Party and shall reasonably
cooperate with each other in good faith to take reasonable measures to prevent further confusion.
The Parties further agree that:

                (i)     Neither Pixel Labs nor Hovaghimian will in any way attempt to associate
itself with Ripple Labs or its goods and/or services, and Ripple Labs will not in any way attempt
to associate itself with Pixel Labs nor Hovaghimian or their goods and/or services;

               (ii)   In the event that any Party receives a misplaced customer inquiry
regarding the other Party’s goods and/or services, such Party will properly direct the customer to
the correct Party, and provide written notice of the same to the other Party within ten (10)
business days.

              (iii) The Parties will make best efforts to avoid confusion in the media and
elsewhere. If a third party mistakenly confuses Pixel Labs and Ripple Labs, the Parties will
make reasonable efforts to correct that confusion.

Subparagraph 1(j) above shall not create obligations between Pixel Labs and Hovaghimian with
regard to any matters not involving the RIPPLE marks.

2.      Release. In consideration of and conditioned upon the fulfillment of the terms of this
Agreement, each of the Parties, on its own behalf, and, except as set forth herein, on behalf of
each of its respective principals, founders, members, officers, directors, employees, agents,
subsidiaries, successors, and assigns (“Releasors”) does hereby release and forever discharge the
other Party and each of its respective principals, founders, officers, directors, employees, agents,
subsidiaries, successors, and assigns (the “Released Parties”) from the claims, actions, causes of
action, damages, losses, costs and expenses, asserted in the Action. Moreover, notwithstanding
the foregoing, the releases set forth in this Section 2 do not include a release of any agreements,
rights, or obligations created in this Agreement. In furtherance of the intention of the releases
granted by the Parties under the Agreement, the Parties hereby expressly and mutually waive any
and all claims conferred upon the Parties by the provisions of Section 1542 of the California
Civil Code, or comparable provision of other state law, and each Party expressly consents that
the Agreement shall be given full force and effect according to each and all of its express terms
and provisions, including those related to unknown and unsuspected claims, demands and causes
of action, if any, as well as those relating to any other claims, demands and causes of action
hereinabove specified. Section 1542 provides:

        "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
        CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR
        AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
        HER MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
        DEBTOR."

The Parties acknowledge that each Party may hereafter discover claims or facts in addition to or
different from those which each Party now knows or believes to exist with respect to the subject
matter of the Agreement and which, if known or suspected at the time of executing the
Agreement, may have materially affected the settlement embodied in the Agreement. Each Party

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hereby waives any right, claim or cause of action that might arise as a result of such different or
additional claims or facts. Each Party acknowledges that it understands the significance and
consequence of such release and such specific waiver of Section 1542, or comparable provision
of other state law, which has been explained to each Party by its counsel.

3.     Entire Agreement; Severability; Fees and Costs; Choice of Law and Forum. This
Agreement constitutes the entire understanding between the Parties regarding the subject matter
(into which all prior negotiations, commitments, representations, inducements and undertakings
with respect to the subject matter hereof are merged), and except as provided herein, there are no
other oral or written undertakings or agreements between the Parties relating to the subject
matter hereof. The terms of this Agreement may not be amended, altered, modified, or otherwise
changed except by the mutual consent of the Parties in writing. If any provision or any part of
any provision of this Agreement is determined by a court to be unenforceable, the Parties shall
deem the provision to be modified to the extent necessary to allow it to be enforced to the extent
permitted by law, or if it cannot be modified, the provision will be severed and deleted from this
Agreement, and the remainder of the Agreement will continue in effect. The Agreement shall be
governed by and interpreted in accordance with the laws of the State of Delaware. Each Party
shall bear its own attorney’s fees and costs in connection with this Agreement. The Parties
herein agree that any dispute relating to or arising from this Agreement, or the subject matter of
this Agreement, shall be brought before the Court retaining jurisdiction over the terms of this
Settlement.

4.       Binding Effect; Assignment. This Agreement is binding upon, and shall be assignable
by either Party to, any successor-in-interest, permitted assignee, or any person or entity that
acquires all, or substantially all, of the business assets and goodwill in the RIPPLE marks
associated with each Party referenced in this Agreement, without further agreement or
permission by the other Party subject to the provisions of this Agreement. Notwithstanding the
foregoing, Pixel Labs and its successors and assigns may only assign the RIPPLE NEWS Mark,
and other rights arising under this Agreement, provided the successor or assign does not offer
goods and services that are the same as, or related to, Ripple Labs’ Goods and Services. To be
clear, if the successor or assignee uses the RIPPLE NEWS Mark in connection with any of the
Ripple Labs Goods and Services, any assignment and this Agreement shall become void. Each
Party may sub-license this Agreement only to any of its affiliated entities or any company under
the common control of its parent corporation without further permission.

5.     Representations; Warranties. Each Party represents and warrants that it has reviewed
and executed this Agreement freely, fully intending to be bound by the terms and provisions
contained herein, and that it has full power and authority to execute, deliver and perform this
Agreement. Each Party further acknowledges that it has had the opportunity to consult with
counsel and to seek counsel’s advice with respect to the negotiation and execution of this
Agreement.


6.     Breach. If at any time a Party believes that the other Party has breached a provision of
this Agreement, the Party that believes a breach has occurred shall notify the other Party in
writing of the alleged breach. For avoidance of doubt, Ripple Labs shall notify Pixel Labs c/o
Mr. Hovaghimian at the address above by overnight courier (e.g., Federal Express), with an
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email copy to razmigH@gmail.com, if it believes a breach of this Agreement has occurred and
Pixel Labs shall notify Brad Garlinghouse at the address above if it believes a breach has
occurred. Upon receipt of such notice, the other Party shall have twenty (20) business days to
correct the breach, and no legal action may be taken prior to the expiration of this notice period.
Prior to initiating any legal proceedings and within said twenty (20) day window, the Parties
agree that their principals will meet for a face-to-face meeting and attempt an informal mediation
prior to initiating any legal action against one another.

7.     Counterparts. This Agreement may be executed in identical counterparts with the same
force and effect as if the signatures were all set forth on a single instrument. This Agreement is
deemed to be executed and effective as of the last date on which a Party signs a counterpart to
this Agreement.



                                     *       *        *     *




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                                        Brad Garlinghouse

                                        President

                                        Nov 4




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                                        Exhibit A
                            Ripple Labs Trademark Registrations

 Mark    Country   Appl. Date.   Reg. Date      Appl. No.         Reg. No.   Class and Goods Services

RIPPLE    United   8/30/2013     5/20/2014      86052959          4532726    Class 9: Computer programs
          States                                                             and computer software for
                                                                             electronically trading traditional
                                                                             currency and virtual currency;
                                                                             computer software, namely,
                                                                             electronic financial platform
                                                                             that accommodates payment
                                                                             and financial transactions;
                                                                             computer hardware for
                                                                             transmitting virtual currency
                                                                             and traditional currency
                                                                             between computers via a peer-
                                                                             to-peer computer network;
                                                                             downloadable electronic data
                                                                             files featuring transferrable
                                                                             electronic cash equivalent units
                                                                             having a specified cash value

RIPPLE    United   8/30/2013     5/13/2014      86052973          4528772    Class 36: Currency exchange
          States                                                             services; on-line real-time
                                                                             currency trading; cash
                                                                             management, namely,
                                                                             facilitating transfers of
                                                                             electronic cash equivalents;
                                                                             virtual currency exchange
                                                                             transaction services for
                                                                             transferrable electronic cash
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                                                                    equivalent units having a
                                                                    specified cash value; electronic
                                                                    funds transfer, namely,
                                                                    transmission of currency via
                                                                    computer terminals and
                                                                    electronic devices; electronic
                                                                    funds transfer, namely,
                                                                    transmission of virtual currency
                                                                    and digital currency via
                                                                    electronic communication
                                                                    networks

RIPPLE    United   11/8/2012   12/24/2013   85774758      4453543   Class 36: Financial services,
          States                                                    namely, providing secure
                                                                    payment options to members of
                                                                    an online community via a
                                                                    global computer network
                                                                    through the use of traditional
                                                                    currency and virtual currency

RIPPLE    United   8/30/2013   5/20/2014    86052980      4532727   Class 38: Peer-to-peer network
          States                                                    computer services, namely,
                                                                    electronic transmission of
                                                                    financial data via computer
                                                                    terminals and electronic
                                                                    devices; transmission of
                                                                    financial information by
                                                                    electronic communications
                                                                    networks

          United   8/30/2013   5/20/2014    86052907      4532723   Class 9: Computer programs
          States                                                    and computer software for
                                                                    electronically trading traditional
                                                                    currency and virtual currency;
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                                                           computer software, namely,
                                                           electronic financial platform
                                                           that accommodates payment
                                                           and financial transactions;
                                                           computer hardware for
                                                           transmitting virtual currency
                                                           and traditional currency
                                                           between computers via a peer-
                                                           to-peer computer network;
                                                           downloadable electronic data
                                                           files featuring transferrable
                                                           electronic cash equivalent units
                                                           having a specified cash value

 United   8/30/2013   5/13/2014    86052926      4528771   Class 36: Currency exchange
 States                                                    services; on-line real-time
                                                           currency trading; cash
                                                           management, namely,
                                                           facilitating transfers of
                                                           electronic cash equivalents;
                                                           virtual currency exchange
                                                           transaction services for
                                                           transferrable electronic cash
                                                           equivalent units having a
                                                           specified cash value; electronic
                                                           funds transfer, namely,
                                                           transmission of currency via
                                                           computer terminals and
                                                           electronic devices; electronic
                                                           funds transfer, namely,
                                                           transmission of virtual currency
                                                           and digital currency via
                                                           electronic communication
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                                                                         networks

               United   8/30/2013   5/20/2014    86052944      4532724   Class 38: Peer-to-peer network
               States                                                    computer services, namely,
                                                                         electronic transmission of
                                                                         financial data via computer
                                                                         terminals and electronic
                                                                         devices; transmission of
                                                                         financial information by
                                                                         electronic communications
                                                                         networks

RIPPLE LABS    United   3/27/2015   11/3/2015    86578952      4845538   Class 36: Currency exchange
               States                                                    services; on-line real-time
                                                                         currency trading; cash
                                                                         management, namely,
                                                                         facilitating transfers of
                                                                         electronic cash equivalents;
                                                                         virtual currency exchange
                                                                         transaction services for
                                                                         transferrable electronic cash
                                                                         equivalent units having a
                                                                         specified cash value; electronic
                                                                         funds transfer, namely,
                                                                         transmission of currency via
                                                                         computer terminals and
                                                                         electronic devices; electronic
                                                                         funds transfer, namely,
                                                                         transmission of virtual currency
                                                                         and digital currency via
                                                                         electronic communication
                                                                         networks

RIPPLE LABS    United   3/30/2015   10/27/2015   86581262      4841452   Class 38: Peer-to-peer network
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 States                                                    computer services, namely,
                                                           electronic transmission of
                                                           financial data via computer
                                                           terminals and electronic
                                                           devices; transmission of
                                                           financial information by
                                                           electronic communications
                                                           networks

 United   3/30/2015   5/10/2016    86581025      4949375   Class 36: Currency exchange
 States                                                    services; on-line real-time
                                                           currency trading; cash
                                                           management, namely,
                                                           facilitating transfers of
                                                           electronic cash equivalents;
                                                           virtual currency exchange
                                                           transaction services for
                                                           transferrable electronic cash
                                                           equivalent units having a
                                                           specified cash value; electronic
                                                           funds transfer, namely,
                                                           transmission of currency via
                                                           computer terminals and
                                                           electronic devices; electronic
                                                           funds transfer, namely,
                                                           transmission of virtual currency
                                                           and digital currency via
                                                           electronic communication
                                                           networks

 United   3/30/2015   5/10/2016    86581311      4953955   Class 38: Peer-to-peer network
 States                                                    computer services, namely,
                                                           electronic transmission of
                                                           financial data via computer
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                                                                          terminals and electronic
                                                                          devices; transmission of
                                                                          financial information by
                                                                          electronic communications
                                                                          networks

RIPPLE TRADE    United   3/24/2014   5/26/2015    86230658      4744898   Class 36: Currency exchange
                States                                                    services; on-line real-time
                                                                          currency trading; cash
                                                                          management, namely,
                                                                          facilitating transfers of
                                                                          electronic cash equivalents;
                                                                          virtual currency exchange
                                                                          transaction services for
                                                                          transferrable electronic cash
                                                                          equivalent units having a
                                                                          specified cash value; electronic
                                                                          funds transfer, namely,
                                                                          transmission of currency via
                                                                          computer terminals and
                                                                          electronic devices; electronic
                                                                          funds transfer, namely,
                                                                          transmission of virtual currency
                                                                          and digital currency via
                                                                          electronic communication
                                                                          networks

RIPPLE TRADE    United   3/24/2014   5/26/2015    86230662      4744899   Class 38: Peer-to-peer network
                States                                                    computer services, namely,
                                                                          electronic transmission of
                                                                          financial data via computer
                                                                          terminals and electronic
                                                                          devices; transmission of
                                                                          financial information by
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                                                                            electronic communications
                                                                            networks

 RIPPLE TRADE     United   3/24/2014   12/8/2015    86230653      4867705   Class 42: Services in the nature
                  States                                                    of software as a service
                                                                            featuring computer software
                                                                            platforms for financial trading
                                                                            transactions

    RIPPLE        United   10/4/2012   12/24/2013   85746224      4453376   Class 36: Financial services and
COMMUNICATIONS    States                                                    financial transaction services,
                                                                            namely, providing secure
                                                                            commercial transactions and
                                                                            payment options

    RIPPLE        United   10/4/2012   8/27/2013    85746235      4390999   Class 38: Telecommunication
COMMUNICATIONS    States                                                    services, namely, telephone and
                                                                            conference calling services;
                                                                            providing electronic
                                                                            telecommunication connections
                                                                            for meetings; electronic voice
                                                                            messaging services, namely, the
                                                                            recording and subsequent
                                                                            transmission of voice messages
                                                                            by telephone; providing
                                                                            telephone services with various
                                                                            features, namely, discussion
                                                                            groups, forums, chat rooms,
                                                                            electronic bulletin boards for
                                                                            transmission of messages
                                                                            among users
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 United   3/26/2015   11/10/2015   86577810      4850428   Class 9: Computer programs
 States                                                    and computer software for
                                                           electronically trading traditional
                                                           currency and virtual currency;
                                                           computer software, namely,
                                                           electronic financial platform
                                                           that accommodates payment
                                                           and financial transactions;
                                                           computer hardware for
                                                           transmitting virtual currency
                                                           and traditional currency
                                                           between computers via a peer-
                                                           to-peer computer network;
                                                           downloadable electronic data
                                                           files featuring transferrable
                                                           electronic cash equivalent units
                                                           having a specified cash value

 Unites   3/26/2015   11/10/2015   86577900      4850434   Class 36: Currency exchange
 States                                                    services; on-line real-time
                                                           currency trading; cash
                                                           management, namely,
                                                           facilitating transfers of
                                                           electronic cash equivalents;
                                                           virtual currency exchange
                                                           transaction services for
                                                           transferrable electronic cash
                                                           equivalent units having a
                                                           specified cash value; electronic
                                                           funds transfer, namely,
                                                           transmission of currency via
                                                           computer terminals and
                                                           electronic devices; electronic
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                                                           funds transfer, namely,
                                                           transmission of virtual currency
                                                           and digital currency via
                                                           electronic communication
                                                           networks

 United    3/26/15   11/10/2015    86577933      4850437   Class 38: Peer-to-peer network
 States                                                    computer services, namely,
                                                           electronic transmission of
                                                           financial data via computer
                                                           terminals and electronic
                                                           devices; transmission of
                                                           financial information by
                                                           electronic communications
                                                           networks
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